                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )       No. 3:08-CR-037
V.                                                   )       (PHILLIPS/SHIRLEY)
                                                     )
KENNETH NICKOLOUS FANN,                              )
                                                     )
                       Defendant.                    )


            ORDER WITHDRAWING MOTION FOR PRETRIAL RELEASE

               A detention hearing was held in this case on August 25, 2008. Hugh Ward, Assistant

United States Attorney, was present representing the Government, and Christopher Oldham was

present representing the Defendant. At the hearing, counsel for the Defendant informed the Court

that the Defendant planned to have his mother testify in support of his release, but the Defendant’s

mother was not present at the hearing. Counsel felt the witness was indispensable to the

Defendant’s case. On this basis, counsel for the Defendant moved to withdraw the Motion for

Pretrial Release [Doc. 31]. Counsel wished to reserve the option to re-file the motion if the

Defendant’s mother was available to testify. The Government had no objections to the withdrawal

with the possibility of re-filing. The Defendant was present and affirmed that he understood his

Motion for Release was being withdrawn. The Court informed both parties that the trial date in this

case remains September 17, 2008.

       For good cause, and by agreement of the Defendant and the Government, Defendant’s

request to withdraw his Motion for Pretrial Release [Doc. 31] is GRANTED. Defendant may re-file

the motion at a later time, but Defendant’s trial date remains September 17, 2008.




Case 3:08-cr-00037-PLR-CCS           Document 39         Filed 08/26/08    Page 1 of 2      PageID
                                           #: 84
            It is therefore ORDERED that:

            (1)   Defendant remain detained.;

            (2)   Defendant remain committed to the custody of the Attorney
                  General for confinement in a corrections facility separate, to
                  the extent practicable, from persons awaiting or serving
                  sentences or being held in custody pending appeal;

            (3)   Defendant be afforded reasonable opportunity for private
                  consultation with counsel; and

            (4)   On order of a court of the United States or on request of an
                  attorney for the Government, the person in charge of the
                  corrections facility in which the Defendant is confined
                  deliver the defendant to a United States marshal for the
                  purpose of an appearance in connection with any court
                  proceeding.


                                                  ENTER:

                                                      s/C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




                                            -2-


Case 3:08-cr-00037-PLR-CCS      Document 39         Filed 08/26/08    Page 2 of 2   PageID
                                      #: 85
